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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS


SONICSOLUTIONS ALGAE CONTROL, LLC,                     *
SONIC SOLUTIONS, LLC, and                              *
ALGAECONTROL.US LLC,                                   *
                                                       *
       Plaintiffs/Counter-Defendants                   *
                                                       *
VS.                                                    *      Civil Action No.
                                                       *      3:21-cv-30068-KAR
                                                       *
DIVERSIFIED POWER INTERNATIONAL, LLC,                  *
ANTONIO TRIGIANI, and HYDRO                            *
BIOSCIENCE, LLC                                        *
                                                       *
       Defendants/Counter-Plaintiff                    *




      RESPONSE IN OPPOSITION TO MOTION FOR FURTHER
                AMENDMENT OF COMPLAINT


       Defendants, Diversified Power International, LLC (“DPI”), Antonio Trigiani

(“Trigiani”) and Hydro Bioscience, LLC (“HBS”) (DPI, Trigiani and HBS sometimes

collectively hereinafter the “Defendants”), submit the following response in opposition to

the motion of Plaintiffs Sonic Solutions Algae Control, LLC (“SSAC”), SonicSolutions, LLC

(“Sonic Solutions”) and Algaecontrol.US LLC (“ACUS”) to further amend complaint. [Doc.

131]. For the reasons set forth herein, Defendants contend that the motion should be

denied and that the plaintiffs proposed further amended complaint disallowed.


       In support of this response, Defendants rely upon and/or file herewith:


       1.    Scheduling Order [Doc. 76],
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       2.     Revised Scheduling Order [Doc. 81], and

       3.     Scheduling Order [Doc. 117].



                                     INTRODUCTION


       Plaintiffs’ motion to further amend claims (1) that Plaintiff’s motion is timely filed

because the scheduling order does not include a deadline for filing amended pleadings

[Doc. 132, at 2], and (2) that the proposed amended complaint seeks to add material and

information that Plaintiffs received during discovery. [Doc. 131]. In addition, Plaintiff’s

brief requests that the word “DPI” be changed to “Defendants” in the language of Count I

and III of the proposed second amended complaint, even though this issue is not

addressed in the Plaintiffs’ motion. [Doc. 132, at 3–4]. Each of Plaintiffs’ contentions will

be addressed in this response.



                                 STANDARD OF REVIEW


       A plaintiff may amend her complaint once as a matter of right. See Federal Rule

Civil Procedure 15(a)(1). Otherwise, proposed amendments require the defendant’s

consent or the court’s leave. See Fed. R. Civ. P. 15(a)(2). Courts must freely grant leave

to amend unless the amendment “would be futile, or reward, inter alia, undue or intended

delay.” Resolution Trust Corp. v. Gold, 30 F.3d 251, 253 (1st Cir. 1994). Under         Fed.

R. Civ. P. 16(b)(1), a district court judge must issue a scheduling order. Id.          This

scheduling order must “limit the time to join other parties, amend the pleadings, complete

discovery, and file motions.” See Fed. R. Civ. P. 16(b)(3)(A). Fed. R. Civ. P. 16(b)(3)(A)




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is not permissive, and lays out the elements that a scheduling order is required to have.

See Somascan, Inc. v. Philips Med. Sys. Nederland, B.V., 714 F.3d 62, 64 (1st Cir. 2013)

Stanley v. Huntington Nat. Bank, 492 Fed.Appx. 456, 461 (4th Cir. 2012); Carrizo (Utica)

LLC v. City of Girard, Ohio, 661 Fed. Appx. 364, 367 (6th Cir. 2016); Fed. Trade Comm'n

v. Marshall, 781 Fed. Appx. 599, 603 (9th Cir. 2019); Insight Sec., Inc. v. Deutsche Bank

Tr. Co. Americas, No. 21-12817, 2022 WL 2313980, at *6 (11th Cir. June 28, 2022); Allen

v. Brown Advisory, LLC, 41 F.4th 843, 852 (7th Cir. 2022).


       If a plaintiff seeks to amend her complaint after the time to amend has expired,

then Fed. R. Civ. P. 16(b)(4)’s more stringent “good cause” standard replaces the more

relaxed standard of Fed. R. Civ. P. 15(a)(2). See U.S. ex rel. D'Agostino v. EV3, Inc., 802

F.3d 188, 192. (1st Cir. 2015); Somascan, Inc. v. Philips Med. Sys. Nederland, supra.


                                        ARGUMENT


1.     Based on the Amended Scheduling Order filed in this case, the deadline for
       the parties to amend their pleadings expired on January 24, 2022. Plaintiffs’
       right to amend their pleadings at this stage of this litigation is, therefore,
       governed by the more stringent standard of “good cause” under Rule 16(b).


       Fed. R. Civ. P. 16(b)(3)(A) requires that a scheduling order contain a limitation to

the time to amend the pleadings. Somascan, 714 F.3d at 64; O'Connell v. Hyatt Hotels of

Puerto Rico, 357 F.3d 152, 154 (1st Cir. 2004); But see D'Agostino, 802 F.3d at 192 (limits

on the time to amend in a scheduling order where “customary,” as opposed to “[r]equired”

as set forth in Fed. R. Civ. P. 16(b)(3)(A)). The First Circuit has not ruled on the effect of

a second scheduling order that fails to put a limitation on amending the pleadings when

the first scheduling order contained such a specific limitation. However, the other courts



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which have addressed the issue have applied the good cause standard of Fed. R. Civ. P.

16(b) even when the scheduling order was silent on the deadline for amendments to

pleadings. See United States for Use & Benefit of Alexander Contracting Co., Inc. v.

Sauer, Inc., 2014 WL 12704988, at *1 (M.D. Ga. Oct. 31, 2014) (court applied Fed. R.

Civ. P. 16(b) good cause standard without offering an opinion on whether the deadline

had passed under the subsequent scheduling orders which were silent on the issue of

deadline for the amendments to pleadings); See also Bykes v. Smith, 20119 WL 4408445,

at *6 (N.D. Ala. June 17, 2019) (scheduling order setting a deadline for leave to amend

did not dispense with moving party’s compliance with Rule 15(a)); Grant v. Citibank, 2010

WL 5187754, at *6 (S.D. N.Y. Dec. 6, 2010); Nairobi Holdings, Ltd v. Brown, 2006 WL

2242596, at *2 (S.D. N.Y. Aug 3, 2006); In re Wireless Tel. Servs. Antitrust Litig., 2004

WL 2244502, at *5 N.6 (S.D. N.Y. Oct. 6, 2004); 380544 Canada, Inc. v. Aspen Tech.,

Inc., 2011 WL4089876, at *3 (S.D. N.Y. Sept. 14, 2011) (applying Rule 16 in absence of

formal Rule 16 order); AT Engine Control Ltd. v. Goodrick Pump & Engine Control Sys.,

Inc., 2014 WL 810825, at *3 (D. Conn. Feb. 28, 2014) (the absence of a deadline to

amend in the court’s prior scheduling order “merely demonstrates that no such deadline

could be imposed because the deadline had long since passed.”).


      In this case, the Court issued a scheduling order [Doc. 76], that was amended to

extend the time to amend pleadings to January 24, 2022 [Doc. 81]. The Court issued a

second scheduling order that does not contain the required limit on amended pleadings

under Fed. R. Civ. P. 16(b)(3)(A). Alexander Contracting, 2014 WL 12704988, at *1. In

that regard, this case is similar to Alexander Contracting which did not contain a deadline

to amend pleadings in the initial scheduling order but not in the subsequent scheduling



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order. In D'Agostino, the initial scheduling order did not contain a deadline for the parties

to amend their pleadings. 802 F.3d at 191. Given that the Court previously issued a

scheduling order that set forth the required time limits on the parties amending their

pleadings, this case differs from D'Agostino where the court’s scheduling order was silent

on the issue from the outset. See D'Agostino, 802 F.3d at 191, 192. Thus, D'Agostino

should not govern the result in this case.


       Defendants contend that since the Court has put a limit of January 24, 2022 as the

last day to amend the pleadings, and because the second scheduling order is silent on

the matter of amending pleadings, the amended first scheduling order controls with

respect to the deadline to file amended pleadings. See [Doc. 81], [Doc. 117]; See AT

Engine Control Ltd., supra. The absence of a deadline in the subsequent scheduling

orders in this case simply means that the original deadline controls. Plaintiffs’ contention,

that a lack of a limitation on the time to file amended pleadings means that any filing is

timely, would violate both the spirit and the letter of Fed. R. Civ. P. 16 and should be

rejected by the Court. See also Advisory Committee Notes to the 1983 Amendments to

Rule 16 Subdivision (b) (“Item (1) assures that at some point… pleadings will be fixed).


       Based on the foregoing authority, Defendants contend that Rule 16(b)’s good

cause standard should govern Plaintiffs’ motion to further amend their complaint.




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   2. Plaintiffs have failed to meet the standard of “good cause” and as a result,
      their motion to further amend their complaint should be denied.


       As stated, Plaintiffs incorrectly rely on Fed. R. Civ. P. 15(a)(2), because the time

to amend their pleadings has expired. [Doc. 81]; [Doc. 132, at 4]. Therefore, Plaintiffs’

motion to further amend the pleadings can only be done with the Court’s permission, and

for good cause shown. Somascan, 714 F.3d at 64. The good cause standard of Fed. R.

Civ. P. 16(b) “emphasizes the diligence of the party seeking the amendment.” O'Connell,

357 F.3d at 155. While “[p]rejudice to the opposing party remains relevant but is not the

dominant criterion.” Id. Rather, a lack of diligence may preclude a leave to amend

“irrespective of prejudice because such conduct is incompatible with the showing of

diligence necessary to establish good cause.” Id. Additionally, motions to amend are

“[p]articularly disfavored… whose timing prejudices the opposing party by ‘requiring a re-

opening of discovery with additional costs, a significant postponement of trial, and a likely

major alteration in trial tactics and strategy ...’ ” Steir v. Girl Scouts of the USA, 383 F.3d

7, 12 (1st Cir. 2004) (quoting Acosta-Mestre v. Hilton Int'l of P.R., Inc., 156 F.3d 49, 52

(1st Cir. 1998)).


       Plaintiffs admit in their brief in support of their motion that the documents relating

to the request to further amend have been in the possession of Plaintiffs since April of

2022 [Doc. 132, at 3]. Plaintiffs state that the reason for waiting six months, right up until

the close of fact discovery, to request leave to amend the complaint, is not to prevent

Defendants from being able to investigate the factual basis of these claims, but instead,

it was because settlement negotiations were on-going between the parties. [Doc. 132, at

5]. In support of this contention, Plaintiffs only offer Defendants’ counsel belief that this



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case would reach a settlement. [Doc. 132, at 6]. Defendants’ counsel’s good faith belief

that this litigation would be settled does not excuse Plaintiffs’ lack of diligence in waiting

six months after receiving discovery documents and waiting to the eve of the factual

discovery deadline to file a motion to further amend their complaint. Plaintiffs failed to

produce any documents or other communications that they agreed with Defendants’

counsel’s then assessment of settlement or that they likewise believed or did not believe

that the case would settle.


       Additionally, Plaintiffs erroneously rely on Tingley Sys., Inc v. CSC Consulting, Inc.,

in arguing that they should be granted leave to further amend. Not only does Tingley deal

with Fed. R. Civ. P. 15(a)(2) and not Rule 16(b) which is applicable here, the sentence

Plaintiffs quote in support of their acknowledged delay in seeking to further amend does

not support their position when read in its entirety. [Doc. 132, at 5]. Tingley Sys., Inc. v.

CSC Consulting, Inc., 152 F. Supp. 2d 95, 117 (D. Mass. 2001). Plaintiffs quote from

Tingley as follows: “The fact that a moving party learned of the basis for its allegations

during discovery is a valid basis for delay in filing a motion to amend.” [Doc. 132, at 5].

However, the full quote from Tingley is:


              “The fact that the moving party learned of the basis for its new
       allegations during discovery is a valid basis for delay in filing a motion to
       amend. See Picker International, Inc. v. Leavitt, 128 F.R.D. 3, 9
       (D.Mass.1989) (allowing motion to amend complaint where motion filed
       promptly after new facts learned through discovery).”


Tingley, 152 F. Supp. 2d, 116–117. Plaintiffs quote from Tingley, but omit the word “new:

from the quoted passage.         Although facts learned in discovery may support new

allegations in a dilatory motion to amend, facts learned in discovery that do give rise to



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new allegations do not support a dilatory motion to amend. Further, the court in Tingley

notes that the motion to amend was promptly filed after new facts were learned through

discovery. Id. Here, the amended allegations are not new and the motion to further amend

was not promptly filed.


       Plaintiffs made the allegations they now seek to amend in their original complaint,

filed in June 2021. Plaintiffs renewed the allegations with their amended complaint filed

in March 2022.      In their present motion to amend, Plaintiffs are not making new

allegations, but are rather seeking to amend the complaint to add new facts to support

their existing theories of recovery. The motion to further amend was not promptly filed,

with the Plaintiffs waiting six months to ask the Court leave to amend. Tingley found the

delay in filing the motion was prejudicial, it was not “so prejudicial… to justify denial,” of

the amendment. Id. at 117. However, this case is distinguishable from Tingley for two

reasons. First, Tingley was not decided under the good cause standard of Fed. R. Civ. P.

16. Id. at 116. Secondly, the time lapse between discovery and filing in Tingley was three

to four months while the delay in this case is six months.


       Additionally, if Plaintiffs are allowed to amend Count VII in order to assert a new

factual basis for their allegations, Defendants would be prejudiced in not being able to

engage in discovery to investigate the factual basis for the newly asserted claims. Fact

discovery expired in this case on October 28, 2022. The timing of Plaintiffs’ motion to

further amend, at the eleventh hour, right before the close of fact discovery, is suspect,

and such dilatory conduct should not be rewarded by the Court.




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    3. There is no good cause for Plaintiffs to further amend their complaint to add
       the words “Defendants” in place of “DPI” in Counts I and III.


        As litigation progresses, “the burden on a plaintiff seeking to amend a complaint

becomes more exacting.” Steir, 383 F.3d, at 12. This litigation has been on-going for

fifteen months. Plaintiffs seek to change the language in Count I and Count III of their

amended complaint to add HBS as a defendant and seek to hold HBS liable under Counts

I and III. [Doc. 98, at 21–22], [Doc. 132 at 1]. Plaintiffs failed to request this change in

their pleadings to further amend, and only mention it in passing in the brief.1 When

Plaintiffs were granted leave to amend the complaint in March of 2022, it was partially for

the purpose of adding HBS as a party defendant.                    [Doc. 85]. At the time Plaintiffs

previously amended their complaint, they should have included HBS in Counts I and III if

the claims existed at that time. They failed to do so. Plaintiffs do not allege any additional

information learned in discovery that would justify their waiting seven months to ask this

Court to again amend their complaint and assert claims against HBS of which Plaintiffs

were certainly aware at the time of their prior amendment.


        If Plaintiffs are allowed to amend Counts I and III in order to assert claims against

HBS as well as DPI, HBS would again be denied the right to engage in discovery

regarding these claims as fact discovery concluded in this case on October 28, 2022.

This would result in substantial prejudice to the Defendants. Again, the timing of Plaintiffs’

motion to further amend, upon the eve of the close of fact discovery, is suspect, and

should not be rewarded by this Court.



1 The request to amend Counts I and III are missing in the complaint, and are only mentioned in a total of
three sentences in a seven page brief.


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                                  CONCLUSION


      For the reasons set forth herein, Plaintiffs’ motion to further amend should be

denied.



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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on November 1, 2022 the foregoing
Response In Opposition To Motion For Further Amendment of Complaint filed
electronically. Notice of this filing will be sent by operation of the Court's electronic filing
system to all parties indicated on the electronic filing receipt. All other parties have been
served by hand delivery, overnight delivery, facsimile transmission, or by mailing a copy
of same by United States Mail, postage prepaid.

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